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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11    DAQUAN ELI TRIBBLE,                        Case No. 5:19-cv-02045-FMO (MAA)
  12                         Plaintiff,
                v.                                 ORDER ACCEPTING FINDINGS
  13
                                                   AND RECOMMENDATIONS OF
  14    E. WEST et al.,                            UNITED STATES MAGISTRATE
                                                   JUDGE
  15                         Defendants.
  16

  17            Pursuant to 28 U.S.C. § 636, the Court has reviewed the records on file
  18   herein, and the Report and Recommendation of United States Magistrate Judge.
  19   Further, the time for filing objections has expired and no objections have been
  20   made. The Court accepts the findings and recommendations of the Magistrate
  21   Judge.
  22         IT IS THEREFORE ORDERED that this lawsuit be dismissed without
  23   prejudice.
  24   DATED:
  25

  26   November 6, 2020                        _______________/s/___________________
                                                      FERNANDO M. OLGUIN
  27                                            UNITED STATES DISTRICT JUDGE
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